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 5
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 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     NELSON CHILIN,                             Case No.:
11
                  Plaintiff,                    COMPLAINT FOR INJUNCTIVE
12                                              RELIEF AND DAMAGES FOR DENIAL
           vs.                                  OF CIVIL RIGHTS OF A DISABLED
13                                              PERSON IN VIOLATIONS OF
14                                              1. AMERICANS WITH DISABILITIES
     THE VINCENT MAYA COMPANY;                  ACT, 42 U.S.C. §12131 et seq.;
15
     TRISAM PARTNERS & ASSOCIATES               2. CALIFORNIA’S UNRUH CIVIL
16                                              RIGHTS ACT;
     LLC; and DOES 1 to 10,
17                Defendants.                   3. CALIFORNIA’S DISABLED
                                                PERSONS ACT;
18
                                                4. CALIFORNIA HEALTH & SAFETY
19                                              CODE;
20                                              5. NEGLIGENCE
21
22
23
24         Plaintiff NELSON CHILIN (“Plaintiff”) complains of Defendants THE VINCENT
25   MAYA COMPANY; TRISAM PARTNERS & ASSOCIATES LLC; and DOES 1 to 10
26   (“Defendants”) and alleges as follows:
27   //
28   //



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 1                                              PARTIES
 2            1.   Plaintiff is a California resident with a physical disability. Plaintiff is a
 3   paraplegic due to spinal cord injury and is substantially limited in his ability to walk.
 4   Plaintiff requires the use of a wheelchair at all times when traveling in public.
 5            2.   Defendants are, or were at the time of the incident, the real property owners,
 6   business operators, lessors and/or lessees of the real property for a gas station and
 7   convenience store (“Business”) located at or about 9315 Baseline Rd., Rancho
 8   Cucamonga, California.
 9            3.   The true names and capacities, whether individual, corporate, associate or
10   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
11   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
12   Court to amend this Complaint when the true names and capacities have been
13   ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
14   fictitiously named Defendants are responsible in some manner, and therefore, liable to
15   Plaintiff for the acts herein alleged.
16            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
17   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
18   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
19   the things alleged herein was acting with the knowledge and consent of the other
20   Defendants and within the course and scope of such agency or employment relationship.
21            5.   Whenever and wherever reference is made in this Complaint to any act or
22   failure to act by a defendant or Defendants, such allegations and references shall also be
23   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
24   and severally.
25                                 JURISDICTION AND VENUE
26            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
27   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
28   seq.).



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 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7   property which is the subject of this action is located in this district, San Bernardino
 8   County, California, and that all actions complained of herein take place in this district.
 9                                     FACTUAL ALLEGATIONS
10         10.    In or about November of 2023, Plaintiff went to the Business.
11         11.    The Business is a gas station and convenience store business establishment,
12   open to the public, and is a place of public accommodation that affects commerce
13   through its operation. Defendants provide parking spaces for customers.
14         12.    While attempting to enter the Business during each visit, Plaintiff personally
15   encountered a number of barriers that interfered with his ability to use and enjoy the
16   goods, services, privileges, and accommodations offered at the Business.
17         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18   included, but were not limited to, the following:
19                a.     Defendants failed to comply with the federal and state standards for
20                       the parking space designated for persons with disabilities. Defendants
21                       failed to post required signage such as, “Minimum Fine $250” and
22                       “Unauthorized Parking.”
23                b.     Defendants failed to comply with the federal and state standards for
24                       the parking space designated for persons with disabilities. Defendants
25                       failed to provide proper van accessible space designated for the
26                       persons with disabilities as there were no “NO PARKING” markings,
27                       blue borderlines, or blue hated lines painted on the surface of the
28                       pavement to indicate the presence of an accessible aisle.



                                            COMPLAINT - 3
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 1                c.     Defendants failed to comply with the federal and state standards for
 2                       the parking space designated for persons with disabilities. Defendants
 3                       failed to mark the space with the International Symbol of
 4                       Accessibility, and with the blue borderlines indicating the perimeter of
 5                       the accessible parking space.
 6         14.    These barriers and conditions denied Plaintiff full and equal access to the
 7   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
 8   patronize the Business; however, Plaintiff is deterred from visiting the Business because
 9   his knowledge of these violations prevents him from returning until the barriers are
10   removed.
11         15.    Based on the violations, Plaintiff alleges, on information and belief, that
12   there are additional barriers to accessibility at the Business after further site inspection.
13   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
14   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
15         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
16   knew that particular barriers render the Business inaccessible, violate state and federal
17   law, and interfere with access for the physically disabled.
18         17.    At all relevant times, Defendants had and still have control and dominion
19   over the conditions at this location and had and still have the financial resources to
20   remove these barriers without much difficulty or expenses to make the Business
21   accessible to the physically disabled in compliance with ADDAG and Title 24
22   regulations. Defendants have not removed such barriers and have not modified the
23   Business to conform to accessibility regulations.
24                                     FIRST CAUSE OF ACTION
25          VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
26         18.    Plaintiff incorporates by reference each of the allegations in all prior
27   paragraphs in this complaint.
28




                                            COMPLAINT - 4
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 1         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
 2   shall be discriminated against on the basis of disability in the full and equal enjoyment of
 3   the goods, services, facilities, privileges, advantages, or accommodations of any place of
 4   public accommodation by any person who owns, leases, or leases to, or operates a place
 5   of public accommodation. See 42 U.S.C. § 12182(a).
 6         20.    Discrimination, inter alia, includes:
 7                a.    A failure to make reasonable modification in policies, practices, or
 8                      procedures, when such modifications are necessary to afford such
 9                      goods, services, facilities, privileges, advantages, or accommodations
10                      to individuals with disabilities, unless the entity can demonstrate that
11                      making such modifications would fundamentally alter the nature of
12                      such goods, services, facilities, privileges, advantages, or
13                      accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
14                b.    A failure to take such steps as may be necessary to ensure that no
15                      individual with a disability is excluded, denied services, segregated or
16                      otherwise treated differently than other individuals because of the
17                      absence of auxiliary aids and services, unless the entity can
18                      demonstrate that taking such steps would fundamentally alter the
19                      nature of the good, service, facility, privilege, advantage, or
20                      accommodation being offered or would result in an undue burden. 42
21                      U.S.C. § 12182(b)(2)(A)(iii).
22                c.    A failure to remove architectural barriers, and communication barriers
23                      that are structural in nature, in existing facilities, and transportation
24                      barriers in existing vehicles and rail passenger cars used by an
25                      establishment for transporting individuals (not including barriers that
26                      can only be removed through the retrofitting of vehicles or rail
27                      passenger cars by the installation of a hydraulic or other lift), where
28                      such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).



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 1                d.     A failure to make alterations in such a manner that, to the maximum
 2                       extent feasible, the altered portions of the facility are readily
 3                       accessible to and usable by individuals with disabilities, including
 4                       individuals who use wheelchairs or to ensure that, to the maximum
 5                       extent feasible, the path of travel to the altered area and the
 6                       bathrooms, telephones, and drinking fountains serving the altered
 7                       area, are readily accessible to and usable by individuals with
 8                       disabilities where such alterations to the path or travel or the
 9                       bathrooms, telephones, and drinking fountains serving the altered area
10                       are not disproportionate to the overall alterations in terms of cost and
11                       scope. 42 U.S.C. § 12183(a)(2).
12         21.    Where parking spaces are provided, accessible parking spaces shall be
13   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
14   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
15   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
16   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
17   be a van accessible parking space. 2010 ADA Standards § 208.2.4.
18         22.    Under the ADA, the method and color of marking are to be addressed by
19   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
20   Building Code (“CBC”), the parking space identification signs shall include the
21   International Symbol of Accessibility. Parking identification signs shall be reflectorized
22   with a minimum area of 70 square inches. Additional language or an additional sign
23   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
24   parking space identification sign shall be permanently posted immediately adjacent and
25   visible from each parking space, shall be located with its centerline a maximum of 12
26   inches from the centerline of the parking space and may be posted on a wall at the
27   interior end of the parking space. See CBC § 11B-502.6, et seq.
28




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 1         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
 2   each entrance to an off-street parking facility or immediately adjacent to on-site
 3   accessible parking and visible from each parking space. The additional sign shall not be
 4   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
 5   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
 6   designated accessible spaces not displaying distinguishing placards or special license
 7   plates issued for persons with disabilities will be towed away at the owner’s expense…”
 8   See CBC § 11B-502.8, et seq.
 9         24.    Here, Defendants failed to provide the signs stating, “Minimum Fine $250”
10   and the additional sign with the specific language stating “Unauthorized vehicles parked
11   in designated accessible spaces not displaying distinguishing placards or special license
12   plates issued for persons with disabilities will be towed away at the owner’s expense…”
13         25.    For the parking spaces, access aisles shall be marked with a blue painted
14   borderline around their perimeter. The area within the blue borderlines shall be marked
15   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
16   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
17   be painted on the surface within each access aisle in white letters a minimum of 12 inches
18   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
19   11B-502.3.3.
20         26.    Here, Defendants failed to provide a proper access aisle as there were no
21   “NO PARKING” markings, blue borderlines, or blue hatched lines painted on the parking
22   surface.
23         27.    The surface of each accessible car and van space shall have surface
24   identification complying with either of the following options: The outline of a profile
25   view of a wheelchair with occupant in white on a blue background a minimum 36” wide
26   by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
27   of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
28   length of the parking space and its lower side or corner aligned with the end of the



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 1   parking space length or by outlining or painting the parking space in blue and outlining
 2   on the ground in white or a suitable contrasting color a profile view of a wheel chair with
 3   occupant. See CBC § 11B-502.6.4, et seq.
 4         28.      Here, Defendants failed to paint the International Symbol of Accessibility
 5   and the blue borderlines on the surface as required.
 6         29.      A public accommodation shall maintain in operable working condition those
 7   features of facilities and equipment that are required to be readily accessible to and usable
 8   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 9         30.      By failing to maintain the facility to be readily accessible and usable by
10   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
11   regulations.
12         31.      The Business has denied and continues to deny full and equal access to
13   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
14   discriminated against due to the lack of accessible facilities, and therefore, seeks
15   injunctive relief to alter facilities to make such facilities readily accessible to and usable
16   by individuals with disabilities.
17                                 SECOND CAUSE OF ACTION
18                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
19         32.      Plaintiff incorporates by reference each of the allegations in all prior
20   paragraphs in this complaint.
21         33.      California Civil Code § 51 states, “All persons within the jurisdiction of this
22   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
23   national origin, disability, medical condition, genetic information, marital status, sexual
24   orientation, citizenship, primary language, or immigration status are entitled to the full
25   and equal accommodations, advantages, facilities, privileges, or services in all business
26   establishments of every kind whatsoever.”
27         34.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
28   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable



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 1   for each and every offense for the actual damages, and any amount that may be
 2   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 3   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 4   attorney’s fees that may be determined by the court in addition thereto, suffered by any
 5   person denied the rights provided in Section 51, 51.5, or 51.6.
 6         35.    California Civil Code § 51(f) specifies, “a violation of the right of any
 7   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 8   shall also constitute a violation of this section.”
 9         36.    The actions and omissions of Defendants alleged herein constitute a denial
10   of full and equal accommodation, advantages, facilities, privileges, or services by
11   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
12   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
13   51 and 52.
14         37.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
15   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
16   damages as specified in California Civil Code §55.56(a)-(c).
17                                  THIRD CAUSE OF ACTION
18                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
19         38.    Plaintiff incorporates by reference each of the allegations in all prior
20   paragraphs in this complaint.
21         39.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
22   entitled to full and equal access, as other members of the general public, to
23   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
24   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
25   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
26   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
27   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
28   places of public accommodations, amusement, or resort, and other places in which the



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 1    general public is invited, subject only to the conditions and limitations established by
 2    law, or state or federal regulation, and applicable alike to all persons.
 3          40.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 4    corporation who denies or interferes with admittance to or enjoyment of public facilities
 5    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 6    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 7    the actual damages, and any amount as may be determined by a jury, or a court sitting
 8    without a jury, up to a maximum of three times the amount of actual damages but in no
 9    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
10    determined by the court in addition thereto, suffered by any person denied the rights
11    provided in Section 54, 54.1, and 54.2.
12          41.    California Civil Code § 54(d) specifies, “a violation of the right of an
13    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
14    constitute a violation of this section, and nothing in this section shall be construed to limit
15    the access of any person in violation of that act.
16          42.    The actions and omissions of Defendants alleged herein constitute a denial
17    of full and equal accommodation, advantages, and facilities by physically disabled
18    persons within the meaning of California Civil Code § 54. Defendants have
19    discriminated against Plaintiff in violation of California Civil Code § 54.
20          43.    The violations of the California Disabled Persons Act caused Plaintiff to
21    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
22    statutory damages as specified in California Civil Code §55.56(a)-(c).
23                                 FOURTH CAUSE OF ACTION
24                 CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
25          44.    Plaintiff incorporates by reference each of the allegations in all prior
26    paragraphs in this complaint.
27          45.    Plaintiff and other similar physically disabled persons who require the use of
28    a wheelchair are unable to use public facilities on a “full and equal” basis unless each



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 1    such facility is in compliance with the provisions of California Health & Safety Code §
 2    19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 3    provisions of California Health & Safety Code § 19955 et seq.
 4           46.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 5    that public accommodations or facilities constructed in this state with private funds
 6    adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 7    Title 1 of the Government Code. The code relating to such public accommodations also
 8    require that “when sanitary facilities are made available for the public, clients, or
 9    employees in these stations, centers, or buildings, they shall be made available for
10    persons with disabilities.
11           47.    Title II of the ADA holds as a “general rule” that no individual shall be
12    discriminated against on the basis of disability in the full and equal enjoyment of goods
13    (or use), services, facilities, privileges, and accommodations offered by any person who
14    owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
15    Further, each and every violation of the ADA also constitutes a separate and distinct
16    violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
17    award of damages and injunctive relief pursuant to California law, including but not
18    limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
19                                    FIFTH CAUSE OF ACTION
20                                          NEGLIGENCE
21           48.    Plaintiff incorporates by reference each of the allegations in all prior
22    paragraphs in this complaint.
23           49.    Defendants have a general duty and a duty under the ADA, Unruh Civil
24    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
25    to the Plaintiff.
26           50.    Defendants breached their duty of care by violating the provisions of ADA,
27    Unruh Civil Rights Act and California Disabled Persons Act.
28




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 1          51.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 2    has suffered damages.
 3                                     PRAYER FOR RELIEF
 4          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 5    Defendants as follows:
 6          1.     For preliminary and permanent injunction directing Defendants to comply
 7    with the Americans with Disability Act and the Unruh Civil Rights Act;
 8          2.     Award of all appropriate damages, including but not limited to statutory
 9    damages, general damages and treble damages in amounts, according to proof;
10          3.     Award of all reasonable restitution for Defendants’ unfair competition
11    practices;
12          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
13    action;
14          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
15          6.     Such other and further relief as the Court deems just and proper.
16                               DEMAND FOR TRIAL BY JURY
17          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
18    demands a trial by jury on all issues so triable.
19
20    Dated: February 12, 2024                SO. CAL. EQUAL ACCESS GROUP
21
22
23                                            By:    _/s/ Jason J. Kim___________
                                                     Jason J. Kim, Esq.
24                                                   Attorneys for Plaintiff
25
26
27
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